             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                      1:21-cv-00182-MR-WCM

MELISSA FEHLING                   )
                                  )
           Plaintiff,             )
                                  )                   ORDER
v.                                )
                                  )
PRI PRODUCTIONS, INC.;            )
                                  )
           Defendant.             )
_________________________________ )

      This matter is before the court on a letter “Status Report” filed by

Plaintiff Melissa Fehling, which the court has construed as a Motion for

Miscellaneous Relief (the “Motion,” Doc. 24).

      On May 19, 2022, the undersigned granted in part and denied in part

Defendant’s Motion to Compel. Doc. 22. The May 19 Order required Plaintiff

to produce, on or before June 17, 2022, certain medical records covering the

period from January 1, 2018 through present. Id. Plaintiff was also directed to

produce additional responsive documents relative to Plaintiff’s tax returns,

including those she may receive from the IRS, on or before June 17. Id.

      On June 21, Plaintiff filed the instant Motion through which Plaintiff

provides an “update” on her efforts to comply with the May 19 Order, and




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requests “some additional time to obtain and provide the remaining

outstanding discovery….” Doc. 24 at 2.

      Plaintiff does not, however, provide specific information regarding the

amount of “additional time” she seeks or set forth Defendant’s position

regarding such a request.

      Further, while the undersigned understands that some courts may

accept requests for court action in the form of letters, the general practice in

this District is for counsel to seek court action by way of formal motions that

are accompanied by supporting briefs (when required by the Local Rules) and

that show consultation among counsel (again when required).

      Plaintiff remains free to seek appropriate relief or action from the court

with regard to discovery matters as she deems necessary. However, for the

reasons described above, the letter “Status Report” (Doc. 24), which the court

has construed as a Motion for Miscellaneous Relief, is DENIED.

      It is so ordered.


                                 Signed: June 24, 2022




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